EXHIBIT 7
              Ex. 7, at 1
*
          EXECUTION COPY




    AND
5                                                                                                Ex. 7, at 17

                                                                                       EXECUTION COPY



     2. SALE OF ASSETS AND ASSUMPTION OF LIABILITIES

     2.1 Sale of Assets and Assumption of Liabilities

     On the Completion Date, the Seller shall transfer, convey, and assign, upon the terms and
     subject to the conditions set forth in this Agreement, to the Purchaser, and the Purchaser shall
     receive and assume from the Seller, all of the Seller's Assets and Liabilities in accordance with
     Law n° 192 of January 4,1993 on Facilitating Bank Merger and as set forth in sub-Clauses 2.2,
     2.3 and 2.4 herein.

     2.2 Transferred Assets

    The transferred Assets shall consist inter alia of any and all rights, titles and interests of the
    Seller in and to the Properties, assets, and rights of every nature, kind and description, tangible
    and intangible whether real, personal or mixed, whether accrued or unaccrued, absolute or
    contingent, disputed or undisputed, liquidated or unliquidated, secured or unsecured, joint or
    several, due or to become due, vested or unvested, determined, determinable or otherwise as
    at the Completion Date, to the extent they relate to the Seller's Business, including without
    limitation: Advances, Commitments, Assumed Contracts, Disclosure Documents, Securities,
    Leases, Owned Properties, IT System, Equipment, Supplier Contracts, Books, good will, shares
    held by the Seller in its Subsidiaries, profits for the fiscal years 2010 and 2011 and all rights in
    connection with the Business, all as at the Completion Date.

    2.3 Assumed Liabilities

    The Assumed Liabilities consist inter alia of any and all of the Seller's liabilities and/or
    obligations and/or debts of any kind, character or description, absolute or contingent, accrued
    or unaccrued, disputed or undisputed, liquidated or unliquidated, secured or unsecured, joint
    or several, due or to become due, vested or unvested, determined, determinable or otherwise,
    to the extent they relate to the Seller's Business, all as at the Completion Date.

    2.4 Transfer of Risk

    From the Signature Date until the Completion Date, the Seller shall retain possession of the
    Assets and the Liabilities and shall, subject to the provisions of this Agreement especially the
    provisions of Clause 10 carry on the Business;

    Upon and with effect from the Completion Date, title and risk of loss of damage to the Assets
    and the Liabilities shall pass djrectly from the Seller to the Purchaser in accordance with Law n°
    192 of January 4,1993 on Facilitating Bank Merger.




                                                Page 17 of 52
                                                                                                                    Ex. 7, at 105

                                                                                                            EXECUTION COPY


      Rlad El Solh 1107                              building No. 20,7th Floor
      Beirut - Lebanon                               Metn-Lebanon

      Marked for the attention of Mr. Georges Zard
      Abou Jaoude, Chairman and General Manager
                                                     With atopy (whkfi shall not constitute notice} tbi         -

      SOCIETE GENERA1E DE BANQUE AU UBAN S-A-L       Mr. Antoun N. Sehnaoui

      Sehnaoui building                              At its personal address:
      Saloumeh square/ Sin El Fil                    Debs building, EI5aydeh street
      B.P. 11-295S, Beirut, Lebanon                  Karm El Zeltoun
      Marked for the attention of
      Mr. Antoun N. Sehnaoui



  Or any such other address of which the relevant Party shall have given notice for this purpose
  to the other Party under this Clause 22.

  Any notice or other communication shall be deemed to have been given:

  -      if delivered by hand with acknowledgment of receipt, on the date of delivery; or
         If sent by courier with acknowledgment of receipt, on the third Business Day after it was
         given to the courier.

  For the purposes of this Agreement, notices or other communications shall not be validly given
  if sent by e-mail.

  AS WITNESS the hands of the duly authorized representatives of the Parties on the date which
  appears first on page 4.

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                                                              MR. Mohammas^^mi^^^/c^T/
  MR. Georges E ZaMhmiPirjaouaey.cojj
  Chairman and GeneXk^^nagfiz>-^^^'                           General Maj

                      ,         SOCilTn»ENERAl£ OE BANQUE AU LIBAN S-A.C"~—*

\/// /^aTTiF-rE^EMgPAIP. J
^T5e BANQGE AU LIBAN 5
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      Antounjfcsfeniraourt T   * f ^ •A                      MR. G£rard£arzuel ^ue au liban 5
  Chairman and General Manager                               Chief Opemtin£j3ffiCerT!j!p^^/JL^XJo-^*jL^-L-M
